The demurrer is addressed to the complaint in so far as it purports to set out a cause of action on behalf of the plaintiff Anthony Squillo, Jr., to recover for injuries he allegedly sustained while en ventre sa mere. *Page 501 
Cogent reasoning has been advanced to support a right of recovery by a child for injuries suffered before its birth. Bonbrest
v. Kotz, 65 F. Sup. 138; dissenting opinion of Justice Boggs inAllaire v. St. Luke's Hospital, 184 Ill. 359, 368; dissenting opinion of Brogan, C. J., in Stemmer v. Kline, 128 N.J.L. 455. 463.
Nevertheless in the various jurisdictions where the question has been presented the courts of last resort have uniformly held that in the absence of statute there is no right of action to a child when born for injuries done to it before birth. See notes in 97 A. L. R. 1524 and 5 N.C.C.A. (N.S.) 778; Restatement, 4 Torts § 869.
   The demurrer is sustained on the ground stated therein.